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5

6

7

8
                                   UNITED STATES BANKRUPTCY COURT
9
                                        Southern District Of California
10
                                                            )   Case No. 13-06250-LT11
11   In re:                                                 )
                                                            )   CHAPTER 11
12   ZOUVAS, LUKE & LEENA                                   )
                                                            )   DEBTORS’ AMENDED DISCLOSURE
13                         Debtor(s).                       )   STATEMENT AND PLAN OF
                                                            )   REORGANIZATION, DATED 11/22/13
14                                                          )
                                                            )   Confirmation Hearing:
15                                                          )
                                                            )   DATE:   January 15, 2014
16                                                          )   TIME:   10:00 a.m.
                                                            )   DEPT:   3
17                                                          )
                                                            )   The Honorable Laura S. Taylor
18
                                                            )
19                                                          )
                                                            )
20                                                          )
                                                            )
21                                                          )

22            The Debtors and Debtors-in-Possession LUKE & LEENA ZOUVAS (hereinafter, the

23   “Debtors”) in the above-referenced case submit, pursuant to Section 1125 of the United States

24   Bankruptcy Code (11 U.S.C. section 101, et seq., hereinafter, the “Code”), Federal Rule of
25   Bankruptcy Procedure (“FRBP”) 3017(a), and Local Bankruptcy Rule (“LBR”) 2002-1(e), the
26   following AMENDED DISCLOSURE STATEMENT & PLAN OF REORGANIZATION and
27   respectfully represents as follows:
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1                                                    PART I:

2                                                 INTRODUCTION

3           LUKE & LEENA ZOUVAS (hereinafter, the “Debtors”) are the Debtors in this Chapter 11

4    bankruptcy case. On 06/16/13, Debtors commenced a bankruptcy case by filing a voluntary petition

5    under Chapter 11 of the United States Bankruptcy Code in the United States Bankruptcy Court for

6    the Southern District of California. This is Debtors’ Combined Chapter 11 Disclosure Statement

7    and Plan of Reorganization (hereinafter, the “Plan”). This Plan describes how each creditor’s claim

8    will be treated if the Plan is confirmed.

9            Section 1 contains the treatment of administrative claims. Section 2 contains the treatment

10   of priority claims. Section 3 contains the treatment of creditors with secured claims (i.e. Class 1

11   claims.) Section 4 contains the treatment of general unsecured creditors (i.e. Class 2 claims.)

12   Section 5 contains the treatment of pre-confirmation arrears to be cured through the Plan on

13   assumed executory contract (i.e. Class 3 claims.) Attached to the Plan are exhibits containing

14   financial information that may help you decide how to vote and whether to object to confirmation.

15   Exhibit 1 includes background information regarding Debtor, the events that led to the filing of the

16   bankruptcy petition, a description of significant events that have occurred during this bankruptcy

17   and a summary of this Chapter 11 Plan. Exhibit 2 contains an analysis of how much creditors

18   would likely receive in a Chapter 7 liquidation. Exhibit 3 shows Debtors’ projected post-confirmation

19   income and expenses. Exhibit 4 describes how much Debtor is required to pay on the effective

20   date of the plan.

21          Most creditors (those in impaired classes) are entitled to vote on confirmation of the Plan.
22   Completed ballots must be received by Debtors’ counsel, and objections to confirmation must be
23   filed and served, no later than December 27, 2013. The court will hold a hearing on confirmation of
24   the Plan on 01/15/13 at 10:00 a.m.
25
            Whether the Plan is confirmed is subject to complex legal rules that cannot be fully
26
     described here. YOU ARE STRONGLY ENCOURAGED TO READ THE PLAN CAREFULLY AND
27
     TO CONSULT AN ATTORNEY TO HELP YOU DETERMINE HOW TO VOTE AND WHETHER TO
28
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1    OBJECT TO CONFIRMATION OF THE PLAN.

2           If the Plan is confirmed, the payments promised in the Plan constitute new contractual
3    obligations that replace the Debtors’ pre-confirmation debts. The Plan payments shall begin on the
4    Effective Date as defined in Section 8(a). Creditors may not seize their collateral or enforce their
5    pre-confirmation debts so long as Debtors perform all obligations under the Plan. If Debtors default
6    in performing Plan obligations, any creditor can file a motion to have the case dismissed or
7    converted to a Chapter 7 liquidation, or enforce their non-bankruptcy rights. Debtors will be
8    discharged from all pre-confirmation debts (with certain exceptions) if Debtors makes all Plan
9    payments. Enforcement of the Plan, discharge of the Debtors, and creditors’ remedies if Debtors
10   default are described in detail in Sections 6 and 7 of the Plan.
11
                                                    PART II:
12
                              CLASSIFICATION AND TREATMENT OF CLAIMS
13
     Section 1: Administrative Claims
14
     1(a)   Professional Fees.
15
            Debtor will pay the following professional fees in full on the Effective Date, or upon approval
16
     by the court, whichever is later.
17
      Name and Role of Professional                                            Estimated Amount
18
      Edward J. Fetzer, Esq                                                         $5,000.00
19
            The following professionals have agreed to accept payment over time as follows. Payments
20
     will be made monthly, due on the first day of the month, starting on or after the Effective Date of the
21
     Plan, or upon approval by the Court, whichever is later.
22

23    Name and Role of Professional                  Estimated          Payment           Number of
                                                      Amount            Amount            Payments
24    Edward J. Fetzer, Esq.                         $10,000.00          $892.00              12
25          Professionals may not take collection action against Debtor so long as Debtors are not in

26   material default under the Plan (defined in Section 7(c)). Estate professionals are not entitled to
27   vote on confirmation of the Plan.
28
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1    1(b)   Post-Confirmation Compensation of Professional Persons.

2           Compensation for services rendered and for reimbursement of expenses by a professional

3    person after the Effective Date need not be approved by the Bankruptcy Court. Professional

4    persons may invoice the reorganized Debtors (or other responsible third-party) directly, and

5    reorganized Debtors (or other responsible third-party) may pay such invoices without further order

6    from the Bankruptcy Court.

7    1(c)   Other Administrative Claims.

8           Debtors are informed and believe that there are no other administrative claims.

9    1(d)   United States Trustee Fees.

10          All fees payable to the United States Trustee as of confirmation will be paid on the Effective

11   Date; post-confirmation fees to the United States Trustee will be paid when due.

12

13   Section 2: Priority Claims

14   2(a)   Tax Claims.

15          The Debtors will pay claims entitled to priority under §507(a)(8) in full over time at the non-

16   bankruptcy statutory interest rate in equal amortized payments in accordance with §511. Payments

17   will be made quarterly, due on the first day of the quarter, starting on the first such date after the

18   Effective Date and ending on the last such date that is no more than 5 years after the entry of the

19   order for relief. Payment of priority tax claims in full within 5 years of the petition date and on terms

20   not less favorable than those accorded the most favored non-priority creditor is required by

21   §1129(a)(9)(C).

22          Priority tax creditors may not take any collection action against Debtors so long as Debtors

23   are not in material default under the Plan (defined in Section 7(c)). Priority tax claimants are not

24   entitled to vote on confirmation of the Plan.

25    Name of Creditor                             Estimated     Statutory     Payment        Number of
26                                                 Amount of     Interest      Amount         Payments
                                                     Claim         Rate
27    Franchise Tax Board                          $1,043.00      4.00%        $1,043.00           1
28
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1    2(b)     Unsecured Domestic Support Obligation Claims Entitled to Priority under §507(a)(1).

2             Debtors are informed and believe that there are no domestic support obligation claims.

3    2(c)     Wage and Commission Claims Entitled to Priority under §507(a)(4).

4             Debtors are informed and believe that there are no wage or commission claims.

5    Section 3: Secured Creditors

6    3(a)     Debtors to Make Regular Payments and Pay Arrears over Time.

7
      Class     Name of        Collateral           Regular         Estimated          Interest     Monthly
8               Creditor                            Monthly          Arrears           Rate on     Payment on
                                                    Payment                            Arrears       Arrears
9     1A        One West       977 Windflower       $8,775.00     $118,157.38          4.25%      Monthly interest-
                Bank, FSB      Way, San                                                            only payments,
10                             Diego, CA
                                                                                                   then lump sum
                                                                                                  cure payment on
                               92106                                                                 60th month
11
              Debtors will pay the entire amount contractually due by making all post-confirmation regular
12

13   monthly payments, and by making monthly interest-only payments on pre-petition arrears at a

14   4.25% interest rate, then by paying all pre-petition arrears (including attorney’s fees and late

15   charges) in a single lump-sum cure payment, due the first day of the 60th month from the Effective

16   Date of the Plan on the above secured claim. The Zouvas Family Trust has agreed to provide

17   Debtors with sufficient funds to make the aforementioned lump-sum payment secured by a third

18   deed of trust lien on Debtors’ commercial property located at 2368 Second Avenue, San Diego, CA

19   at the time such funds are advanced to Debtors. To the extent arrears are determined to be other
20   than as shown above, appropriate adjustments will be made in the lump-sum payment. Creditors in
21   these classes shall retain their interest in the collateral until paid in full.
22
              The creditor in this class may not repossess or dispose of their collateral so long as Debtors
23
     are not in material default under the Plan (defined in Section 7(c)). This secured claim is
24
     impaired and entitled to vote on confirmation of the Plan.
25
     3(b)     Creditors’ Rights Remain Unchanged.
26
      Class       Name of Creditor                          Description of Collateral
27
      1B          Wells Fargo Bank, N.A.                    2368 Second Avenue, San Diego, CA
28
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                                                            .
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1             The creditor’s legal, equitable, and contractual rights remain unchanged with respect to the

2    above collateral. The confirmation order will constitute an order for relief from stay. The creditor in

3    this class shall retain its interest in the collateral until paid in full. This secured claim is not

4    impaired and is not entitled to vote on confirmation of the Plan.
5    3(c)     Debtor to Strip off Lien.
6
      Class        Name of Creditor                     Collateral                                        Amount Due
7
      1C           RBS Citizens, N.A.                   977 Windflower Way, San Diego,                    $253,361.72
8                  (servicing agent Green               CA 92106
                   Tree Servicing LLC)
9
              Prior to confirmation, Debtors shall have obtained an order(s) or stipulation(s) fixing the
10
     secured amount of the above creditors’ claims at zero. Debtors will pay nothing to those creditors
11
     as secured claims. Any claim of a creditor whose lien is stripped is a general unsecured claim
12
     treated in Section 4.
13
              The creditors in this class may not repossess or dispose of their collateral so long as
14
     Debtors are not in material default under the Plan (defined in Section 7(c)). This claim is impaired
15
     and is entitled to vote on confirmation of the Plan.
16
     3(d)     Debtor to Adjust Terms and Pay Amount Due in Full Over Time.
17

18    Class         Name of                 Collateral            Amount Due           Interest     Monthly         Term
                    Creditor                                                             Rate       Payment
19    1d            Zouvas Family           2368 Second           $440,000.00            0%         see below        see
                    Trust                   Avenue, San                                                             below
20                                          Diego, CA
21            The Zouvas Family Trust 1 has agreed to defer the entire amount contractually due during
22   the life of the Plan on the above secured claims. Debtors will recommence their regular monthly
23
     payments starting on the first day of the first month after their completion of the Plan and will pay
24
     the entire amount contractually due in full over time under the same terms provided by the
25
     underlying loan documents. The creditors in this class shall retain its interest in the collateral and
26

27   1 The Zouvas Family Trust, dated October 9, 1985, is Debtor’s parents’ living trust. Debtor is a 1/15th beneficiary (along
     with Debtor’s siblings and grandchildren) and does not receive any benefits until the death of both Debtor’s parent.
28
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1    may not repossess or dispose of their collateral so long as Debtors are not in material default under

2    the Plan (defined in Section 7(c)). The secured claim is impaired and is entitled to vote on

3    confirmation of the Plan.

4           Payments to claimants in this class may continue past the date Debtors obtain a discharge.
5    The claimant’s rights against its collateral shall not be affected by the entry of discharge, but shall
6    continue to be governed by the terms of this Plan.
7    3(e)   Deadline for § 1111(b) Election.
8           Creditors with an allowed secured claim must make an election under 11 U.S.C. § 1111(b)
9    no later than 14 days after service of the notice of hearing of this proposed Plan and conditionally
10   approved disclosure statement.
11

12   Section 4: Treatment of General Unsecured Creditors
13   4(a) Class 2(A). Small Claims.
14          This class includes any creditor whose allowed claim is $7,500.00 or less, and any creditor
15   in Class 2(B) whose allowed claim is larger than $7,500.00 but agrees to reduce its claim to
16   $7,500.00. Each creditor will receive on the Effective Date of the Plan a single payment equal to
17   the lesser of its allowed claim or $750.00.
18          Creditors in this class may not take any collection action against Debtors so long as Debtors
19   are not in material default under the Plan (defined in Section 7(c)). Claimants in this class are
20   impaired and are entitled to vote on confirmation of the Plan, unless their claims are paid in
21   full on the Effective Date of the Plan.
22   4(b) Class 2(B). General Unsecured Claims.
23          This class includes all known non-priority unsecured creditors, including deficiency claims,
24   and rejection claims, whether scheduled or based on proofs of claim on file excluding those in Class
25   2(A). Allowed claims of general unsecured creditors (not treated as small claims, including allowed
26   claims of creditors whose executory contracts or unexpired leases are being rejected under this
27   Plan) receive a prorata share of $35,680.00 on their allowed claim. Debtors estimate that the
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1    amount of non-priority unsecured claims (including the stripped residential junior lien) is

2    approximately $1,194,919.40. Depending on the resolution of Debtors’ disputed claims, such

3    prorata distribution may result in non-priority unsecured creditors receiving between 2% to 10% of

4    their allowed claim. See Section 5(c), below.

5             Creditors in this class may not take any collection action against Debtors so long as Debtors

6    are not in material default under the Plan (defined in Section 7(c)). This class is impaired and is

7    entitled to vote on confirmation of the Plan. Debtors have indicated Section 8(b), below,

8    whether a particular claim is disputed.

9                                                    PART III:

10     EXECUTORY CONTRACTS, UNEXPIRED LEASES, DISPUTED CLAIMS & OTHER CLAIMS

11   Section 5: Executory Contracts and Unexpired Leases

12   5(a)     Executory Contracts/Unexpired Leases Assumed.

13            Debtor assumes the following executory contracts and/or unexpired leases upon Effective

14   Date of this Plan and will perform all pre-confirmation and post-confirmation obligations thereunder.

15   Post-confirmation obligations will be paid as they come due. Pre-confirmation arrears to be cured

16   will be paid in 3 equal quarterly installments beginning on the first day of the first month after all

17   administrative and priority claims are paid in full.

18    Class     Name of          Description of                    Estimated          Cure         Number of
19              Counter-Party    Contract/Lease                    Total Cure      Installment    Installments
                                                                    Amount           Amount
20    3A        Daimler Trust    motor vehicle lease for               n/a             n/a            n/a
                                 2010 Mercedes-Benz GL
21                               Class Utility 4D GL550
                                 4WD
22
      3B        Daimler Trust    motor vehicle lease for           $4,513.65        $892.00            6
23                               2011 Mercedes-Benz S              (plus 7%
                                 Class Sedan 4D S550                interest)
24

25   5(b)     Executory Contracts/Unexpired Leases Rejected.
26            Debtor rejects all executory contracts and/or unexpired leases not previously assumed or
27
     listed in Section 5(a), above, as of the Effective Date of this Plan and surrenders any interest in the
28
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1    affected property, and allows the affected creditor to obtain possession and dispose of its property,

2    without further order of the court. Claims arising from rejection of executory contracts or unexpired

3    leases have been included in Section 4 (general unsecured claims). Each entity that is a party to

4    an executory contract or unexpired lease rejected pursuant to this Plan shall be entitled to file a

5    proof of claim for damages alleged to arise from such rejection not later than 30 days after the

6    Effective Date.

7    5(c)     Disputed Claim Reserve.

8             Debtor disputes the following claims:

9     Class       Name of Creditor                              Amount According      Amount According
10                                                                 to Creditor           to Debtor
      4a          Robert Thayer                                 $765,000.00 (joint           $0.00
11                                                                 & severally)
12    4b          Social Media Ventures, Inc.                   $765,000.00 (joint           $0.00
                                                                   & severally)
13
      4c          Joseph B. Larocco                             $765,000.00 (joint           $0.00
14                                                                 & severally)
      4d          Ironshore Indemnity, Inc.                            TBD                   $0.00
15

16            These disputed claims were being litigated in state court when Debtors filed the above-

17   captioned Chapter 11 case. See Thayer, et al. v. Zouvas (San Diego Superior Court Case # 37-

18   2012-00097720, professional liability action), Ironshore v. Zouvas (San Diego Superior Court Case

19   # 37-2013-00050288, declaratory relief and reimbursement claim in connection with insurance

20   coverage for Thayer, et al. v. Zouvas case). These cases are currently stayed as a result of

21   Debtors’ bankruptcy filing. Debtors shall create a reserve for disputed claims in the amount of the

22   claim unless the claim is estimated for distribution in a different amount under 11 U.S.C. §502(c).
23   As described in Exhibit 1, hereto, after the Franchise Tax Board priority claim and the Class 3B
24   claim (Daimler Trust vehicle arrears) are paid in full, Debtors must place into a reserve $410.00 per
25
     month until all disputed claims are settled or resolved. If a disputed claim becomes an allowed
26
     claim, Debtor must distribute to the claimant from the reserve an amount equal to all distributions
27
     due to date under the plan calculated using the amount of the allowed claim. Any funds no longer
28
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1    needed in reserve must be distributed pro-rata among allowed claims in the same class.

2    5(d)      Lawsuits and Other Claims for Relief.

3              Debtors are informed and believe that there are no causes of action for fraudulent transfers,

4    voidable preferences, or other claims for relief exist against the other parties. Without limiting the

5    foregoing, Debtors retain all causes of action that they have against any party, whether arising pre-

6    or post-petition, and all such causes of action vests in the Reorganized Debtor on the Effective

7    Date. The nondisclosure of unknown causes of action is not a settlement, compromise, waiver or

8    release of such cause of action, and does not judicially estop the Debtors from asserting any such

9    cause of action as a claim or defense. Confirmation of the Plan affects no settlement, compromise,

10   waiver or release of any cause of action unless the Plan or Confirmation Order specifically and

11   unambiguously so provide.

12                                                     PART IV:

13                                           GENERAL PROVISIONS

14   Section 6: Discharge and Other Effects of Confirmation

15   6(a)      Discharge.

16             The Debtors shall receive a discharge when the Court grants a discharge on completion of

17   all payments under this Plan or when otherwise authorized under the Bankruptcy Code. Pursuant

18   to Bankruptcy Code Section 524, the discharge (i) voids any judgment at any time obtained to the

19   extent that such judgment is a determination of the personal liability of the Debtors with respect to

20   any debt discharged under Bankruptcy Code Section 1141, whether or not discharge of such debt

21   is waived, (ii) operates as an injunction against the commencement or continuation of an action,

22   employment of process, or an act to collect, recover or offset any such debt as a personal liability of

23   the Debtors, whether or not discharge of such debt is waived, and (iii) operates as an injunction

24   against the commencement or continuation of an action, employment of process, or an act to collect

25   or recover from, or offset against, community property of the Debtors acquired after the petition date

26   on account of an allowable community claim, except as to certain non-dischargeable community

27   claims.

28
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1           Except as otherwise provided in the Plan, the rights afforded in the Plan shall be in

2    exchange for and in complete satisfaction, discharge, and release of all claims of any nature or kind

3    whatsoever, including any interest accrued thereon, from and after the confirmation date of the

4    Plan, against the Debtors and any of their assets or properties. The discharge and release is

5    intended to be as broad as permissible by the Bankruptcy Code and will forever bar any claim, suit,

6    demand, or action by any person on account of a claim which arose prior to confirmation of the

7    Plan. The discharge will affect all claims held by third parties as of the confirmation date of the

8    Plan. It will not affect or modify the rights granted to Creditors pursuant to the Plan. Upon any

9    subsequent default under the Plan, creditors’ claims allowed and treated under the Plan shall not be

10   discharged pursuant to the Plan; however, if the case is converted to a case under Chapter 7, a

11   discharge may nevertheless be granted.

12   6(b)   Vesting of Property.

13          On the Effective Date, all property of the estate and interests of the Debtor will vest in the

14   reorganized Debtor pursuant to § 1141(b) of the Bankruptcy Code free and clear of all claims and

15   interests except as provided in this Plan, subject to revesting upon conversion to Chapter 7 as

16   provided in Section 7(e) below.

17   6(c)   Plan Creates New Obligations.

18          Except as provided in Sections 6(d) and 7(d), the obligations to creditors that Debtor

19   undertakes in the confirmed Plan replace those obligations to creditors that existed prior to the

20   Effective Date of the Plan. Debtor’s obligations under the confirmed Plan constitute binding

21   contractual promises that, if not satisfied through performance of the Plan, create a basis for an

22   action for breach of contract under California law. To the extent a creditor retains a lien under the

23   Plan, that creditor retains all rights provided by such lien under applicable non-Bankruptcy law.

24   6(d)   Claims not Affected by Plan.

25          Upon confirmation of the Plan, and subject to Section 6(c), any creditor whose claims are

26   left unimpaired under the Plan may, notwithstanding Sections 7(a), 7(b), 7(c), and 7(d) below,

27   immediately exercise all of its contractual, legal, and equitable rights, except rights based on default

28   of the type that need not be cured under 11 U.S.C. §§ 1124(2)(A) and (D).
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1    6(e)   Tax Consequences of the Plan.

2           ANY PERSON CONCERNED WITH THE TAX CONSEQUENCES OF THE PLAN SHOULD

3    CONSULT WITH HIS/HER OWN ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS TO

4    DETERMINE HOW THE PLAN MAY AFFECT THEIR TAX LIABILITY. It is not practical or

5    necessary to present a detailed explanation of the federal income tax aspects of the Plan or the

6    related bankruptcy tax matters involved in this Chapter 11 case. Debtors are unaware of any

7    material adverse tax consequences of the Plan to themselves or to creditors. In general, creditors

8    may realize taxable income with respect to some or all of their claims when paid, unless income on

9    account of such payment already has been recognized. The tax consequences resulting from the

10   Plan to each individual Creditor should not vary significantly from the past tax consequences

11   realized by each individual Creditor. To the extent that the tax consequences do vary for individual

12   creditors, each one is urged to seek advice from their own counsel or tax advisor with respect to the

13   state or federal tax consequences resulting from the confirmation of the Plan. The Debtors

14   CANNOT and DO NOT represent that the tax consequences discussed above are the only tax

15   consequences of the Plan because the Tax Code (26 U.S.C. section 1, et seq.) and related

16   regulations embody many complicated rules which make it difficult to completely and accurately

17   state all of the tax implications of any action or transaction.

18   6(f)   Risk Factors.

19          There is a risk that the earnings of Debtor Luke Zouvas, earned through his law practice,

20   The Zouvas Law Group P.C. (“ZLG”), may fluctuate substantially from month to month. Moreover,

21   Debtors’ income may decline in the future. The assumptions made in this Disclosure Statement

22   concerning the Plan are based upon ZLG averages from 2011 through June 2013 and the best

23   information available to the Debtors at this time. Overall, the Debtors believe that they will earn

24   enough income during the busiest months of the year in order to enable them to meet the payments

25   required by their Plan during slower months of the year. The Debtors reserve the right to revise the

     information contained herein as more accurate information becomes available.
26
            In addition, the listing of a particular claim for a specific amount in this Disclosure Statement
27
     is not an admission by the Debtors as to either liability or amount, and the Debtors reserve the right
28
     DEBTORS’ COMBINED
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1    to object to any and all claims in accordance with the Plan. Specifically, Debtors’ objections to the

2    disputed claims listed Section 5(c), above, and the ultimate resolutions thereof will affect the prorata

3    distribution to non-priority unsecured creditors and may increase administrative costs in this case.

4

5    Section 7: Remedies If Debtor Defaults in Performing the Plan

6    7(a)    Creditor Action Restrained.

7            The confirmed Plan is binding on every creditor whose claims are provided for in the Plan.

8    Therefore, even though the automatic stay terminates on the Effective Date with respect to secured

9    claims, no creditor may take any action to enforce either the pre-confirmation obligation or the

10   obligation due under the Plan, so long as Debtor is not in material default under the Plan, except as

11   provided in Section 6(d) above.

12   7(b)    Obligations to Each Class Separate.

13           Debtors’ obligations under the Plan are separate with respect to each class of creditors.

14   Default in performance of an obligation due to members of one class shall not by itself constitute a

15   default with respect to members of other classes. For purposes of this Section 7, the holders of all

16   administrative claims shall be considered to be a single class, the holders of all priority claims shall

17   be considered to be a single class, and each non-debtor party to an assumed executory contract or

18   lease shall be considered to be a separate class.

19   7(c)    Material Default Defined.

20           If Debtors fail to make any payment, or to perform any other obligation required under the

21   Plan, for more than 14 days after the time specified in the Plan for such payment or other

22   performance, any member of a class affected by the default may serve upon Debtors and Debtors’

23   attorney (if any) a written notice of Debtors’ default. If Debtors fail within 14 days after the date of

24   service of the notice of default either: (i) to cure the default; (ii) to file and serve a motion for an

25   extension of time to cure the default; or (iii) to file and serve a motion for a determination that no

26   default occurred, then Debtors are in Material Default under the Plan to all the members of the

27   affected class.

28
     DEBTORS’ COMBINED
     DISCLOSURE STATEMENT & PLAN                         -13-
                                                           .
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1    7(d)   Remedies Upon Material Default.

2           Upon Material Default, any member of a class affected by the default: (i) may file and serve

3    a motion to dismiss the case or to convert the case to Chapter 7; or (ii) without further order of the

4    Court has relief from stay to the extent necessary, and may pursue its lawful remedies to enforce

5    and collect Debtor’s obligations under the Plan.

6    7(e)   Effect of Conversion to Chapter 7.

7           If the case is at any time converted to one under Chapter 7, property of the Debtors shall

8    vest in the Chapter 7 bankruptcy estate to the same extent provided for in 11 U.S.C. § 348(f) upon

9    the conversion of a case from Chapter 13 to Chapter 7.

10   7(f)   Retention of Jurisdiction.

11          The bankruptcy court retains jurisdiction over proceedings concerning: (i) whether Debtors

12   are in Material Default of any Plan obligation; (ii) whether the time for performing any Plan

13   obligation should be extended or modified; (iii) adversary proceedings and contested matters

14   pending as of the Effective Date or specifically contemplated in this Plan to be filed in this Court

15   (see Section 8(f), below); (iv) whether the case should be dismissed or converted to one under

16   Chapter 7; (v) any objections to claims; (vi) compromises of controversies under Fed. R. Bankr.

17   Proc. 9019; (vii) compensation of professionals; and (viii) other questions regarding the

18   interpretation and enforcement of the Plan.

19

20   Section 8: Other Provisions

21   8(a)   Effective Date of Plan.

22          The Effective Date of the Plan is the fifteenth day following the date of the entry of the order

23   of confirmation. If a notice of appeal has been filed, Debtor may waive the finality requirement and

24   put the Plan into effect, unless the order confirming the Plan has been stayed. If a stay of the

25   confirmation order has been issued, the Effective Date will be the first day after that date on which

26   no stay of the confirmation order is in effect, provided that the confirmation order has not been

27   vacated.

28
     DEBTORS’ COMBINED
     DISCLOSURE STATEMENT & PLAN                        -14-
                                                         .
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1    8(b)   Cramdown.

2           Pursuant to 11 U.S.C. § 1129(b), Debtors reserve the right to seek confirmation of the Plan

3    despite the rejection of the Plan by one or more classes of creditors. The Debtors’ ability to

4    “cramdown” this Plan over the objections of creditors may be affected, in part, by how the

5    Bankruptcy Court rules on the applicability of the “Absolute Priority Rule” in this case. The Absolute

6    Priority Rule provides, in essence, that junior claimants, including the Debtor, are barred from taking

7    anything under the Plan unless senior claimants are paid in full. Currently, the law as to whether

8    the Absolute Priority Rule applies to individual Chapter 11 debtors is unsettled. There are three

9    major appellate level decisions (none binding on this Court) that have analyzed whether

10   amendments to the Bankruptcy Code in 2005, served to exempt individual Chapter 11 debtors from

11   the requirements of the Absolute Priority Rule. They are the Fourth Circuit Court of Appeal's

12   decision in In re Maharaj, 681 F.3d 558 (4th Cir. 2012), the Tenth Circuit Court of Appeal's decision

13   in In re Stephens, 704 F.3d. 1279 (10th Cir. 2013); and, the Ninth Circuit Bankruptcy Appellate

14   Panel's decision in In re Friedman, 466 B.R. 471 (9th Cir. BAP 2012).

15          In the present case, Debtors do retain non-exempt property and propose to pay less than

16   100% of claims. However, because Debtors propose to “pay” for their non-exempt property in the

17   amount of at least $118,157.38 (see Section 3(a), above), they are not retaining equity in such

18   property on account of their junior interest. Since the Plan requires Debtors to make a “new value”
19   contribution of at least $118,157.38, the issue of whether or not the Absolute Priority Rule is
20   applicable in this case does not need to be litigated. See 11 U.S.C. § 1129(b)(2)(B)(ii) and Exhibit
21
     1, attached hereto.
22
     8(c)   Modification of Plan.
23
            The Debtors may modify the Plan at any time before confirmation. However, the Court may
24
     require a new disclosure statement and/or re-balloting on the Plan if such modification is sought.
25
     The Debtors may also seek to modify the Plan at any time after confirmation so long as the Plan
26
     has not been substantially consummated, and if the Court authorizes the proposed modifications
27
     after notice and a hearing.
28
     DEBTORS’ COMBINED
     DISCLOSURE STATEMENT & PLAN                      -15-
                                                        .
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1    8(d)   Post-Confirmation Status Reports and Final Decree.

2           The Debtors shall file status reports with the Court on a quarterly basis after entry of the

3    confirmation order, describing the progress toward consummation of the Plan. The status reports

4    shall be served on, among others, counsel for the United States Trustee. When the Plan is fully

5    administered in all material respects, the Debtors shall file an application for a final decree and a

6    proposed final decree closing this case. A final decree may be issued notwithstanding that future

7    payments remain due under the Plan.

8    8(e)   Severability.

9           If any provision in the Plan is determined to be unenforceable, the determination will in no

10   way limit or affect the enforceability and operative effect of any other provision of the Plan.

11   8(f)   Governing Law.

12          Except to the extent a federal rule of decision or procedure applies, the laws of the State of

13   California govern the Plan.

14   8(g)   Notices.

15          Any notice to the Debtors must be in writing, and will be deemed to have been given three

16   days after the date sent by first-class mail, postage prepaid and addressed as follows:

17                                          EDWARD J. FETZER, ESQ.
                                            Emerald Plaza Center
18                                          402 West Broadway, Suite 400
                                            San Diego, CA 92101
19
                                            Mr. & Mrs. Luke Zouvas
20                                          977 Windflower Way
                                            San Diego, CA 92106
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28
     DEBTORS’ COMBINED
     DISCLOSURE STATEMENT & PLAN                       -16-
                                                         .
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1    8(h)   Post-Confirmation United States Trustee Fees.

2           Following confirmation, Debtors must continue to pay quarterly fees to the United States

3    Trustee to the extent, and in the amounts, required by 28 U.S.C. § 1930(a)(6). So long as Debtors

4    are required to make these payments, Debtors must file with the Court quarterly reports in the form

5    specified by the United States Trustee for that purpose.

6

7    Dated:_11/22/13__________                             __/s/ Luke Zouvas_______________
                                                           Debtor
8
                                                           __/s/ Leena Zouvas______________
9                                                          Joint-Debtor

10                                                         __/s/ Edward J. Fetzer____________
                                                           Edward J. Fetzer, Esq., Attorney for
11                                                         Debtors/Debtors-in-Possession LUKE &
                                                           LEENA ZOUVAS
12

13

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28
     DEBTORS’ COMBINED
     DISCLOSURE STATEMENT & PLAN                     -17-
                                                       .
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       EXHIBIT 1 - EVENTS THAT LED TO BANKRUPTCY, SUMMARY OF PLAN
         In re: ZOUVAS, Chapter 11 Case No. 13-06250-LT11 (Bankr.Cal.S.D.)

  Events that Led to Bankruptcy

          In 2010, Debtor’s former law firm, Applbaum & Zouvas, dissolved and Debtor
  started his present securities law practice as the Zouvas Law Group, P.C. (“ZLG”). This
  unplanned dissolution and starting a new law firm was costly and included expenses for
  administrative costs, employees, business taxes, rent/mortgage, and other typical
  expenses associated with running a law firm. For a period of time, ZLG was successful -
  however, due to the area of Debtor’s law practice, monthly Income fluctuated.
  Nonetheless, ZLG grew its client base and increased its staff to ensure that its clients
  were provided proper service.

          During 2012 and the first half of 2013, business was robust and ZLG had
  consistent income. However, an increase of clients not paying regular monthly retainers
  and increased expenses caused more financial hardship than anticipated. As a result,
  Debtor’s monthly income from his law firm decreased and Debtor suffered significant
  financial hardship to stay current on Debtor’s family’s personal bills and expenses.

  Summary of Plan

          Since Debtors filed their bankruptcy case in June 2013, ZLG income has met
  projected levels, in part because of ZLG clients paying past due balances, as well as
  ZLG having been hired for two large projects with those clients paying retainer fees. The
  Debtors’ projected plan payments are based upon average net income earned from ZLG
  from 2011 through June 2013 and the best information available to the Debtors at this
  time. See Exhibit 3, Second Amended Schedule I, filed concurrently herewith. While
  Debtors’ net income may fluctuate from month to month, overall, the Debtors believe that
  they will earn enough income during the busiest months of the year in order to enable
  them to meet the payments required by their Plan during slower months of the year.

          The Plan contemplates that Debtors will pay all Allowed Secured Claims in full
  and will pay between 2% to 10% of general unsecured claims. Debtors must remain
  current on all post-confirmation obligations while using the proceeds from the Debtors'
  income generated after the petition date to treat unsecured creditors' claims pursuant to
  the Plan.

       The distribution of Debtors projected 60 Plan payments of $1,310.00/month is
  summarized on the chart on the following page:




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     CLAIM              PAYMENT             Month 1 - 12          Month 13 - 18            Month 19 - 59             Month 60             TOTAL PAID:
                                         Professional fees
                      $5000.00 lump-
                                         pursuant to fee
                     sum on Effective
 Administrative                          applications to be                                                                             Approx. $15,000.00
                        Date, then
Claims (Pursuant                         filed in this case,                                                                              (pursuant to fee
                      $892.00/mo. for                                  n/a                      n/a                      n/a
 to Section 1 of                         presently estimated                                                                             applications to be
                     approximately 12
     Plan)                               to be approximately                                                                                   filed)
                         months
                                         $10,000.00.



  Franchise Tax
                     $1,043.00 lump-
 Board (Pursuant
                     sum on Effective            n/a                   n/a                      n/a                      n/a                $1,043.00
to Section 2(a) of
                          Date
      Plan)


                                                                Daimler Trust auto
                                                               arrears in the amount
 Daimler Trust
                                                                of $4,513.65 @ 7%
  (Pursuant to       $892.00/mo. for 6
                                                 n/a               interest, for six            n/a                      n/a                $4,829.61
 Section 5(a) of         months
                                                                 months following
     Plan)
                                                                     payment of
                                                               administrative claims
                                                                                       Disputed claim reserve
 Disputed Claim
                                                                                       ($892.00/month for 40
    Reserve/
                                                                                           months.) Total
    General
                     $892.00/mo. for                                                    payments to general
   Unsecured                                     n/a                   n/a                                               n/a               $35,680.000
                       40 months                                                        unsecured creditors
  (Pursuant to
                                                                                       $35,680.00 depending
 Section 4 and
                                                                                          on dispute claim
  5(c) of Plan)
                                                                                            settlement.
                     Monthly interest
                       only (4.25%)
                                                                                                                  $118,157.38 lump
One West Bank          payments of
                                                                                                                  sum to One West
 (Pursuant to        $418/mo. during
                                             $418.00/mo.           $418.00/mo.             $418.00/mo.           Bank for residential      $118,157.38
Section 3(a) of       Plan, plus “new
                                                                                                                 arrears in month 60
    Plan)            value” lump-sum
                                                                                                                       of Plan
                        payment of
                       $118,157.38




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          - Administrative Claims: On or about 11/14/13, Debtors’ counsel, Edward J.
  Fetzer, filed his First Application for Interim Professional Compensation. See Docket
  Entry # 93. Subject to Court approval of Debtors’ counsel’s fee applications, the Plan
  provides that Debtor’s counsel shall receive a single lump-sum payment in the amount of
  $5,000.00 on the Effective Date and, thereafter, $892.00/mo. until all remaining
  administrative claims are paid in full.

           - Priority Tax Claims: On or about 09/24/13, the Franchise Tax Board filed a
  priority tax claim in the amount of $1,043.00 for 2011 personal income tax liability. The
  Bankruptcy Code requires that each holder of such a 507(a)(8) priority tax claim receive
  the total value of such claim in deferred cash payments, over a period not exceeding five
  years from the petition date and in a manner not less favorable than the most favored
  non-priority unsecured claim provided for by the Plan. The Plan provides that the
  County of San Diego shall receive a single lump-sum payment in the amount of
  $1,043.00 on the Effective Date, thereby paying such claim in full.

         [Note: On or about 11/14/13, the County of San Diego withdrew its Claim # 11 for
  residential real property taxes. See Docket Entry # 92.]

          - Automobile Arrears: The Plan provides that the Daimler Trust shall retain its
  security interest in Debtors’ 2011 Mercedes-Benz S Class Sedan 4D S550 and Debtors
  shall continue making their post-petition monthly payments to Daimler Trust pursuant to
  the terms of the original loan documents. In addition, Daimler Trust shall receive
  monthly cure payments in the amount of $892.00/ to cure pre-petition arrears. Debtors
  estimate that 6 monthly payments will be sufficient to cure all pre-petition arrears, which
  payments include interest at the rate of 7% percent per annum. Except to the extent that
  an agreement between the Debtors and Daimler Trust provides otherwise, monthly
  payments shall commence on the first day of the 13th month of the Plan or after all
  administrative claims and priority claims are paid in full, whichever is later. Payments
  shall continue each month thereafter until all pre-petition arrears are cured.

          - Disputed Claim Reserve/General Unsecured: After Daimler Trust pre-petition
  vehicle arrears are cured, Debtors must place into a reserve $892.00 per month until all
  disputed claims listed in Section 5(c) are settled or resolved. If a disputed claim
  becomes an allowed claim, Debtor must distribute to the claimant from the reserve an
  amount equal to all distributions due to date under the plan calculated using the amount
  of the allowed claim. Any funds no longer needed in reserve must be distributed pro-
  rata among allowed claims in the same class. Depending on the resolution of Debtors’
  disputed claims, non-priority unsecured creditors will receive a prorata distribution of
  approximately $35,680.00 which may result in such creditors receiving between 2% to
  10% of their allowed claims.

           - Lump-Sum Cure of Pre-Petition Home Mortgage Arrears: The Zouvas Family
  Trust, dated October 9, 1985, has agreed to provide Debtors with sufficient funds to cure
  their pre-petition home mortgage arrears to be secured by a third deed of trust lien on
  Debtors’ commercial property located at 2368 Second Avenue, San Diego, CA at the
  time such funds are advanced to Debtors. The Zouvas Family Trust is Debtor’s parents’
  living trust. Debtor is a 1/15th beneficiary (along with Debtor’s siblings and
  grandchildren) and does not receive any benefits until the death of both Debtor’s parent.
  During the Plan, Debtors must continue making their post-petition monthly payments to
  One West Bank (serviced by Green Tree Servicing LLC) pursuant to the terms of the


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  original loan documents and interest-only payments on pre-petition arrears at 4.25%
  interest. On the first day of the 60th month from the Effective Date of the Plan, Debtors
  must cure all pre-petition arrears (including attorney’s fees and late charges) in a single
  lump-sum payment in the approximate amount of $118,157.38. To the extent arrears
  are determined to be a different amount, appropriate adjustments will be made in the
  lump-sum payment. One West Bank retains its interest in its collateral until paid in full.




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                              EXHIBIT "2"
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                              LIQUIDATION ANALYSIS
           In re: ZOUVAS, Chapter 11 Case No. 13-06250-LT11 (Bankr.Cal.S.D.)
                                    (as of 06/16/13)

  ASSETS

  977 Windflower Way, San Diego, CA 92106                                $1,250,000.00
  2368 Second Avenue, San Diego, CA 92101                                $1,400,000.00
  Wells Fargo checking/savings accounts                                      $1,932.26
  used home furnishings, televisions and AV equipment                       $27,000.00
  misc. home decor, various art                                              $1,000.00
  used clothes                                                              $15,000.00
  misc jewelry, wedding ring                                                $10,000.00
  various firearms, golf cart, golf clubs, misc. sporting equipment          $6,300.00
  529 Plan for ZZ, EZ (minor children)                                      $28,000.00
  Zouvas Law Group, P.C. (50% ownership)                                    $89,500.00
  2010 Mercedes-B GL550 (leased vehicle)                                         $0.00
  2011 Mercedes-Benz S550V (leased vehicle)                                      $0.00
  450 Yamaha, 450 Honda Quad, Honda 50                                       $3,200.00
                                                                         ___________
                                                                         $2,831,932.26

  LIABILITIES/EXEMPTIONS

  Secured Claims                                                         $2,650,000.00
  Exemptions                                                                $57,965.00
  Estimated Costs of Sale (6%)
  - 977 Windflower Way, San Diego, CA 92106                                 $75,000.00
  - 2368 Second Avenue, San Diego, CA 92101                                 $84,000.00
                                                                         ___________
                                                                         $2,866,965.00

  Costs of Chapter 7 Administration                                                 n/a

  DOLLAR AMOUNT AVAILABLE FOR GENERAL UNSECURED                                    0.00
  CREDITORS:

  PERCENTAGE AMOUNT AVAILABLE FOR GENERAL UNSECURED                                0.00
  CLAIMS:




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                              EXHIBIT "3"
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"2ND AMENDED"




                                       "AMENDED"        23,955.00




                                       "AMENDED"         23,955.00

                                       "AMENDED"         4,390.00




                                       "AMENDED"          4,390.00

                                       "AMENDED"         19,565.00


                                                         6,700.00




                                                          26,265.00

                                                                      26,265.00 "AMENDED"




                                          "SECOND AMENDED"
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 "THIRD
AMENDED"




                                                                                                                 1,872.00




       monthly mortgage payment for 2368 2nd Avenue real property                                                6,700.00

                                                                                                              $ 24,955.00




                                                                                            "CORRECTED"      $ 26,265.00
                                                                                                             $ 24,955.00
                                                                                            "CORRECTED"    $    1,310.00




                                                                 "THIRD
                                                                AMENDED"
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                       EXHIBIT 4 –FEASIBILITY OF THE PLAN
           In re: ZOUVAS, Chapter 11 Case No. 13-06250-LT11 (Bankr.Cal.S.D.)

          A requirement for confirmation involves the feasibility of Debtors’ Plan. Debtors

  must show that confirmation of the Plan is not likely to be followed by the liquidation, or

  the need for further financial reorganization of the Debtors, unless such liquidation or

  reorganization is proposed in the Plan. There are at least two important aspects of a

  feasibility analysis. The first aspect considers whether the Debtor will have enough cash

  on hand on the Effective Date of the Plan to pay all the claims and expenses which are

  entitled to be paid on such date. The Debtors maintain that this aspect of feasibility is

  satisfied as illustrated here:

    Cash Debtors project to have on hand by Effective Date:                        $10,219.02
    To Pay: Administrative Claims                                                   $5,000.00
    To Pay: Statutory costs & charges                                                   $0.00
    To Pay: Other Plan Payments due on Effective Date:                              $1,043.00
    Balance after paying these amounts:                                             $4,176.02

  The sources of the cash that the Debtor will have on hand by the Effective Date, as

  shown above are:

     $        7,599.02    Cash in DIP Operating Account as of 10/31/13
     $        2,620.00    Additional cash DIP projects to accumulate by Effective Date
     $            0.00    Borrowing
     $            0.00    Other
     $       10,219.02    TOTAL

          The second aspect considers whether Debtors will have enough cash over the

  life of the Plan to make the required Plan payments. Debtors believe that the income

  generated from Debtor’s employment with the Zouvas Law Group, P.C. will create

  sufficient cash flow to make all payments under the Plan, as well as pay personal and

  household expenses during the Plan period. The Debtors believe that their monthly

  income generated during their Chapter 11 Plan period will be, on average, approximately

  $26,265.00 per month available for the Debtors’ use. See Exhibit 3 hereto. Debtors

  estimate that they will have approximately $24,955.00 in average monthly expenses,



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  including but not limited to their home mortgage, taxes, and personal living expenses.

  Thus, the amount that the Debtors expect to be made available to them each month, on

  average, will be approximately $1310.00.

         These figures are approximate figures based on average gross income earned

  by Debtor Luke Zouvas during 2011 through June 2013. Debtor’s income can, however,

  fluctuate substantially from month to month. Overall, though, the Debtors believe that

  they will earn enough income during the busiest months of the year in order to enable

  them to meet the payments required by their Plan during slower months of the year.

         Debtors will remain current on all post-confirmation obligations while using the

  proceeds from the income generated after the petition date to treat creditors' claims

  pursuant to the Plan. Debtors shall not be required to liquidate exempt assets or other

  assets that the Bankruptcy Code permits them to retain and they shall retain such

  assets. If necessary, Debtors expect that they will be able to borrow funds from family

  members in order to pay administrative expenses or to cover any temporary cash

  shortages during the life of the Plan.




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